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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
                                  PHILADELPHIA DIVISION


                                                          )
UNITED STATES OF AMERICA,                                 )
                                                          )
              and                                         )
                                                          )
COMMONWEALTH OF PENNSYLVANIA                              )
                                                          )
              Plaintiffs,                                 )
                                                          )
              v.                                          )       Civil Action No. 10-412-JD
                                                          )
SCHWAB FAMILY PARlNERSHIP (rlkla                          )
 FRANKLIN SMELTING & REFINING CO.);                       )
FRANKLIN SMELTING & REFINING CORP.;                       )
FRANCOS REALTY, INC.;                                     )
MDC INDUSTRIES, INC.;                                     )
ALBERT SCHWAB;                                            )
MICHAEL SALTZBURG;                                        )
BETTY SALTZBURG;                                          )
BETTY SALTZBURG, as EXECUTRIX of the                      )
 ESTATE OF DAVID SALTZBURG;                                )
SUSAN SALTZBURG;                                           )
ROGER SCHWAB;                                              )
ANN SCHWAB BROWN,                                          )
                                                           )
              Defendants.                                  )
                                                           )



                                  AMENDED COMPLAINT

       Plaintiffs. the United States of America ("United Stales"), by authority ofthe Attorney

General, and at the request of the Administrator ofthe United States Environmental Protection

Agency (,'EPA"), and the Commonwealth ofPennsylvania Deparunent of Environmental

Protection ("Commonwealth"), hereby file this Amended Complaint and allege as follows:
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                                PRELIMINARY STATEMENT

       1.      This is a civil action under Sections 107 and 1I 3(b) ofthe Comprehensive

Environmental Response, Compensation and Liability Act of 1980, as amended ("CERCLA"),

42 U.S.C. §§ 9607 and 9613(b), for recovery of response costs incurred and to be incurred by the

United States in response to the release or threat of release of hazardous substances at the

Franklin Smelting Site ("Smelting Site") and the Franklin Slag Site ("Slag Site") (collectively,

the "Sites"), located in Philadelphia, PeMsylvania.

       2.      In addition. this action is brought by the Commonwealth under the Pennsylvania

Hazardous Sites Cleanup Act ("HSCA"), 35 P.S. § 6020, for recovery of response costs that it

has incurred in cOMection with the Slag Site.

                                 JURISDICTION AND VENUE

        3.    . This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 133 I (a), 1345,

and 1367, and 42 U.S.C. §§ 9607(a) and 96I3(b).

        4.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and (c)

and 42 U.S.C. § 9613(b), because the claims arose in this judicial district.

                                         DEFENDANTS

        S.     Defendant Schwab Family Partnership (the "Partnership") is a general partnership

established under the laws of the Commonwealth of Pennsylvania and, at times relevant hereto,

conducted business in the Commonwealth of Pennsylvania. The Partnership was previously

named Franklin Smelting and Refining Company. and also traded under the name Franklin

Smelting & Refining Co. Through a February 1, 1983 Amending Agreement to the original

partnership agreement, the Partnership adopted the trade name Schwab Family Partnership. The


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Partnership is comprised ofthe general partners listed below in Paragraphs 9- t 5.

       6.      Defendant Franklin Smelting & Refining Corp. ("Franklin Corp.") is a

corporation established under the laws of the Commonwealth of Pennsylvania and, at times

relevant hereto, conducted business in the Commonwealth ofPennsylvania.

       7.      Defendant Francos Realty, Inc. ("Francos Realty") is a corporation established

under the laws ofthe Commonwealth of Pennsylvania and, at times relevant hereto, conducted

business in the Commonwealth of Pennsylvania.

       8.      Defendant MDC Industries, Inc. ("MDC") is a corporation established under the

laws ofthe Commonwealth of Pennsylvania and, at times relevant hereto, conducted business in

the Commonwealth ofPennsylvania.

       9.      Defendant Albert Schwab is a resident ofthe Commonwealth of Pennsylvania.

Mr. Schwab has been a general partner ofthe Partnership since 1952, either in his individual

capacity or as the beneficiary of a trust.

        10.     Defendant Michael Saltzburg is a resident of the Commonwealth of Pennsylvania.

Mr. Saltzburg has been a general partner of the Partnership since J952, either in his individual

capacity or as the beneficiary ofa trust.

        II.     Defendant Betty Saltzburg is a resident ofthe Commonwealth of Pennsylvania.

Ms. Saltzburg has been a general partner ofthe Partnership in her individual capacity since 1967.

        12.     Defendant Betty Saltzburg is also named in her capacity as the Executrix and

personal representative ofthe Estate of David Saltzburg. David Saltzburg was a general partner

ofthe Partnership from at least 1952 to 1979 when it traded under the name Franklin Smelting

and Refining. Company. Upon David Saltzburg's death in 2005, his Estate became liable for his

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debts and liabilities.

        13.     Defendant Susan Saltzburg is a resident of the State ofOhio. Ms. Saltzburg has

been a general partner of the Partnership since 1952, either in her individual capacity or as the

beneficiary of a trust.

        14.     Defendant Roger Schwab is a resident of the Commonwealth of Pennsylvania.

Mr. Schwab has been a general partner of the Partnership since 1952, either in his individual

capacity or as the beneficiary ofa trust.

        15.     Defendant Ann Schwab Brown is a resident of the Commonwealth of

Pennsylvania. Ms. Schwab has been a general partner of the Partnership since 1952, either in her

individual capacity or as the beneficiary of a trust.

        16.     Each Defendant fal1s within the definition ofa "person" within the meaning of

Section 101(21) ofCERCLA, 42 U.S.C. § 9601(21).

                                   GENERAL ALLEGATIONS

        A.       Smelting Site Operations

        17.      The Smelting Site is located on approximately nine acres at or near 3100 Castor

Avenue, Philadelphia, Pennsylvania.

         18.     From approximately 1935 until 1997, a secondary smelting and refining facility

was operated on a portion of the Smelting Site, which is divided into several parcels.

         19.     At times relevant to this Complaint, the Defendant Partnership has held title to

one parcel, including the portion ofthe Smelting Site where the smelting facility was located, and

Defendant Francos Realty has .held title to the other parcels.

         20.     The operation ofthe smelting facility involv.ed purchasing feedstock material,

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such as slag, telephone scrap, metal fines. and metal scrap. which was processed and smelted into

products such as blister and black copper, mineral grit, converter slag, zinc oxides, and

ammonium sulfate.

        21.    From at least 1952 until 1983, the secondary smelting and refining facility was

operated by the Partnership under the name Franklin Smelting &, Refining Co.

        22.    In ]983, the general partners of the Partnership formed the Defendant Franklin

Corp. The Franklin Corp. assumed the assets and operations of the Partnership and continued

secondary smelting and refining operations at the Smelting Site until approximately 1997.

        23.    As a result of the operations at the Smelting Site, hazardous substances were

disposed ofat the Smelting Site and there was a release or threatened release qf these hazardous

substances into the environment during times relevant to this Complaint. During an initial

assessment of the Smelting Site in October ]997 and during EPA's subsequent removal

activities, EPA determined that there was a release or threatened release of hazardous substances

into the environment from the Smelting Site, including, but not limited to, lead, arsenic,

cadmium, polychlorinated biphenyls ("PCBs"), and corrosive and flammable liquids. Based

upon information and belief, it is likely to be determined that hazardous substances as identified

above were disposed ofat the Smelting Site and were released or threatened to be released into

the environment during the times the Partnership and the Franklin Corp. operated the Smelting

Site.

        B.      Response Actions In CODneetioD With The Smelting Site

        24.     EPA initiated an initial assessment of the Smelting Site in late 1997 pursuant to

Section 104(b) ofCERCLA, 42 U.S.C. § 9604(b). Analytical results based upon the initial

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assessment confinned the presence oflead, cadmium and arsenic that had been released or were

threatened to be released at the Smelting Site..

       25.     In October 1997, a multimedia inspection was conducted at the facility. Based

upon the inspection and analytical results, EPA found, inter alia: (a) deteriorating and leaking

drums, some of which contained leachable lead or cadmium and (b) slag material that also

contained leachable lead. Further, EPA found that various equipment and building components

were covered with residual dust, which was analyzed as containing elevated levels of lead,

cadmium and arsenic. The dust was subject to becoming airborne and being released into the

environment as wind and rain entered through openings into the buildings that housed some of

the large process equipment.

        26.     Based upon the assessment and inspection of the Smelting Site, EPA detennined

that the actual or threatened release of hazardous substances from the Smelting Site, if not

addressed, could present an imminent and substantial endangennent to public health, welfare, or

the environment. Between approximately February 1998 and February 2000, EPA conducted

removal response activities at and in connection with the Smelting Site.

        27.      EPA and the Department ofJustice have undertaken other response activities in

connection with the Smelting Site, including, but not limited to, enforcement-related activities.

        28.      As of approximately 2002, the United States had incurred response costs of at

least $18,828,797 in connection with the Smelting Site under Section 104 ofCERCLA, 42

U.S.C. § 9604.

        c.       Slag Site Operations

        29.      The Slag Site is located adjacent to the Smelter Site on the northwest comer of

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Castor Avenue and North Delaware Avenue, Philadelphia, Pennsylvania.

       30.     From approximately the mid-1930's onward, the Partnership began to deposit

mineral grit or slag by-product ofthe Smelting Site facility's smelting process in a large pile on

the Slag Site. In the 1940's, the Partnership began selling the slag as insulation for the

constructionindustty.

       31.     In 1964, the Partnership began to supply mineral grit from the slag pile to the

Philadelphia Navy Yard as a sand-blasting medium. Defendant Albert Schwab redesigned the

grit plant at the Slag Site to better prepare the slag for marketing as a sand-blasting medium.

        32.    In the late 1960's Metals Development Company was formed to process the slag

for sale to the Navy. The slag was also sold for use in asphalt roofing material. Defendant MOC

succeeded Metals Development Company in 1977. MOC also supplemented the slag it received

from the Smelting Site with coal and copper slag from other compainies.

        33.     Certain now-deceased partners of the Partnership purchased the Slag Site in 1950,

and Defendant Francos Realty has held title to the property since 1970.

        34.     MDe ceased operations at the Site in 1999.

        35.     As a result ofthe operations ofMOC and its predecessors at the Slag Site,

hazardous substances were disposed of, and there was a release or threatened release ofthese

hazardous substances into the environment there during times relevant to this Complaint.

        D.      Response Aetions in Connection with tbe SlaB Sil~

        36.     Airborne releases from the Slag Site were observed throughout the clean-up

efforts at the adjacent Smelting Site from 1998-2000. Slag containing elevated levels of lead was

also found overflowing from the Site onto a neighboring railroad trunk line, property owned by

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the Philadelphia Water Department, and the sidewalk along Castor and Delaware Avenues.

       37.       On January 5,2000 an EPA contractor conducted sampling at the Slag Site in

order to determine the potential hazards of the slag and its impact on the environment through

airborne otT-site migration and surface water run-otT. The samples were found to contain lead

concentrations from 4,200 to 22,100 parts per million. Cadmium, copper, iron, and zinc were

also detected above their risk-based concentration levels.

       38.       On January 10,2000, EPA initiated an emergency removal action at the Sla~ Site

to stabilize the slag pile and to prevent further off-site migration by covering the pile with a high

density polyethylene cover and installing a silt fence around the site. EPA also decontaminated

adjacent areas where the slag had migrated.

       39.       EPA performed a Remedial InvestigationlFeasibility Study ofthe Site, and is

currently considering a permanent means of remediating contamination at the Site.

       40.       EPA and the Department ofJustice have undertaken other response activities in

connection with the Slag Site, including, but not limited to, enforcement related activities.

       41.       As ofapproximately 2002, the United States had incurred response costs ofat

least $6,479,330 in connection with the Slag Site under Section 104 ofCERCLA, 42 U.S.C. §

9604, and expects to incur at least 55,650,000 in additional response costs before remediation is

complete.

        42.      The Commonwealth has also incurred response costs in connection with the

Smelting Site.




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                                    flBST CLAIM FOR RELIEF
                                 (Franklin Smelting Site - CERCLA)

       43.        The United States re-alleges and incorporates by reference paragraphs 1 through

42 above, as if funy set forth below.

       44.        Section 107(a) ofCERCLA, 42 U.S.C. § 9607(a), as amended, provides in

pertinent part:

       Notwithstanding any other provision or role of law. and subject only to the defenses set forth in subse

                  (1) the owner and operator of a vessel or facility,

                  (2) any person who at the time ofdisposal ofany hazardous substance owned or
                  operated any facility at which such hazardous substances were disposed of, ...
                  from which there is a release, or a threatened release which causes the incurrence
                  of response costs. of a hazardous substance, shall be liable for ­

                          (A) all costs of removal or remedial action incurred by the United States
                          Government ... not inconsistent with the national contingency plan; ....

        45.       Lead, cadmium. arsenic, PCBs and other substances found at the Smelting Site are

hazardous substances within the meaning of Section 101(14) ofCERCLA, 42 U.S.C. § 9601(14).

EPA detennined that the above-mentioned hazardous substances were disposed of at the Sites.

        46.       The hazardous substances found at and/or near the Smelting Site in soil and on

equipment and surface areas were released or threatened to be released into the environment

within the meaning of Section 101(22) ofCERCLA, 42 U.S.C. § 9601(22).

        47.       The Smelting Site·is a "facility" within the meaning of Section 101(9) of

CERCLA, 42 U.S.C. § 9601(9).

        48.       To protect the public health. welfare and the environment from the actual or

threatened release of a hazardous substance into the environment from the Smelting Site, the



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Administrator of EPA, pursuant to Section 104{a) ofCERCLA, 42 U.S.C. § 9604(a), has

undertaken response activities with respect to the Smelting Site that are not inconsistent with the

NCP, including investigations, monitoring, assessing, testing, and enforcement related activities.

         49.   The Partnership is liable under Section 107{a)(2) ofCERCLA, 42 U.S.C. §

9607(a)(2) as an operator of the Smelting Site when hazardous substances were disposed of

there.

         50.   The Partnership is liable under Sections ]07(a)(2) ofCERCLA, 42 U.S.C. §

9607(a)(2) as an owner of the Smelting Site or a portion thereof when hazardous substances were

disposed of there.

         51.   Defendant Franklin Corp. is liable under Section 107(a)(2) of CERCLA. 42

U.S.C. § 9607(a)(2), as an operator of the Smelting Site when hazardous substances were

disposed of there.

         52.   Defendant Francos Realty is liable under Section 107(a)(2) ofCERCLA, 42

U.S.C. § 9607(a)(2), as an owner of the Smelting Site or a portion thereof when hazardous

substances were disposed of there.

         53.   Defendants Albert Schwab, Michael Saltzburg, Betty Saltzburg, Betty Saltzburg

as Executrix of the Estate of David Saltzburg, Susan Saltzburg, Roger Schwab, and Ann Schwab

Brown, as general partners in the Partnership, are each liable under Section 107(a)(2) of

CERCLA, 42 U.S.C. § 9607(a)(2) to the same extent as the Partnership as an owner of the

Smelting Site when hazardous substances were disposed ofthere.

         54.    Pursuant to Section 107(a) ofCERCLA, 42 U.S.C. § 9607(a}, Defendants are

jointly and severally liable for all response costs incurred and to be incurred by the United States

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with respect to the Smelting Site.

                                   SECOND CLAIM FOR RELIEF
                                    (Franklin Slag Site - CERCLA)

        55.       The United States realleges and incorporates by reference paragraphs 1 through 54

above, as if fully set forth below.

        56.       Section 107(a) ofCERCLA, 42 U.S.C. § 9607(a), as amended, provides in

pertinent part:

        Notwithstanding any other provision or Nle of law, and subject only to the defenses set forth in subse

                  (1) the owner and operator ofa vessel or facility,

                  (2) any person who at the time of disposal ofany hazardous substance owned or
                  operated any facility at which such hazardous substances were disposed of,

                  (3) any person who by contract, agreement, or otherwise arranged for disposal or
                  treatment, or arranged with a transporter for transport for disposal or treatment of
                  hazardous substances owned or possessed by such person, by any other party or
                  entity, at any facility ... owned or operated by another party or entity and
                  containing such hazardous substances; ...

                  shall be liable for­

                          (A) all costs of removal or remedial action incurred by the United States
                          Government ... not inconsistent with the national contingency plan; ....

        57.       Lead, copper, cadmium, and zinc and other substances found at the Slag Site are

hazardous substances within the meaning of Section 101(14) ofCERCLA, 42 U.S.C. § 9601(14).

EPA detennined that the above-mentioned hazardous substances were disposed ofat the Slag

Site.

        58.       The hazardous substances found at the Slag Site were released or threatened to be

released into the environment within the meaning ofSection 101(22) ofCERCLA, 42 U.S.C. §


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9601(22).

        59.     The Slag Site is a "facility" within the meaning of Section 101(9) ofCERCLA. 42

U.S.C. § 9601(9).

        60.     To protect the public health, welfare and the environment from the actual or

threatened release ofa hazardous substance into the environment from the Slag Site, the

 Administrator of EPA. pursuant to Section 100(a) ofCERCLA, 42 U.S.C. § 9604(a). has

 undertaken response activities with respect to the Slag Site that are not inconsistent with the

 NCP. including investigations, monitoring, assessing, testing, and enforcement related activities.

        61.     Defendant Francos Realty is liable under Section 107(a)(1) and 107{a)(2) of

 CERCLA,42 U.S.C. § 9607(aXI-2), as a current owner ofthe Slag Site and as a past owner of

 the Slag Site when hazardous substances were disposed of there.

        62.     Defendant MDC is liable under Section 107{a)(2) ofCERCLA. 42 U.S.C. §

 9607(a)(2), as an operator of the Slag Site when hazardous substances were disposed of there.

         63.    The Partnership is liable under Section 107(a)(3) ofCERCLA, 42 U.S.C. §

, 9607{a){3) as having arranged for the disposal of hazardous substances at the Slag Site.

         64.    Defendant Franklin Corp. is liable under Section 107(a)(3) of CERCLA, 42

 U.S.C. § 9607(aX3) as having arranged for the disposal of hazardous substances at the Slag Site.

         65.     Defendants Albert Schwab, Michael Saltzburg, Betty Saltzburg, Betty Saltzburg

 as Executrix of the Estate of David Saitzburg, Susan Saltzburg, Roger Schwab, and Ann Schwab

 Brown, as general partners in the Partnership, are each liable under Section 107(a)(3) of

 CERCLA, 42 U.S.C. § 9607(aX3) to the same extent as the Partnership.

         66.     Pursuant to Section 107{a) ofCERCLA, 42 U.S.C. § 9607(a), Defendants are


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jointly and severally liable for all response costs incurred and to be incUlTed by the United States

with respect to the Slag Site.

                                THIRD CLAIM FOR RELIEF
                (Franklin Slag Site ­ Pennsylvania Hazardous Sites Cleanup Act)

       67.     Paragraphs I through 66 are re-alleged and incorporated herein by reference.

       68.     Each Defendant is a Ifpersontl as defined by Section 103 of the HSCA. 35 P.S.

§6020.103.

        69.    The Slag Site is a "site" within the meaning of Section 701 of HSCA, 35 P.S.

§6020.701.

        70.    There has been a "release" (as defined by Section 103 ofHSCA, 3S P.S.

§6020.103) or a threatened "release" of "hazardous substances" (as defined by Section 103 of

HSCA, 3S P.S. §6020.103) from the Slag Site, within the meaning of Section 701(a) of HSCA.

3S P.S. §6020.701(a).

        71.     Defendant Francos Realty is a person who owns the Slag Site and owned it at a

time when the hazardous substances found there and giving rise to response actions conducted

there were placed or came to be located there.

        72.     Defendant MDC is a person who operated the Slag Site at a time when the

hazardous substances found there and giving rise to response actions conducted there were

placed or came to be located there.

        73.     The Partnership is a person who arranged for the disposal of hazardous substances

at the Slag Site.

        74.     Defendant Franklin Corp. is a person who arranged for the disposal of hazardous



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substances at the Slag Site.

        75.     Defendants Albert Schwab, Michael Saltzburg, Betty Saltzburg, Betty Saltzburg

as Executrix of the Estate of David Saltzburg, Susan Saltzburg, Roger Schwab, and Ann Schwab

Brown, as general partners in the Partnership, are persons who are each liable lUlder HSCA to the

same extent as the Partnership.

        76.     The Commonwealth has undertaken and incurred the costs of interim response

actions to address the release or threatened release ofhazardous substances at and from the Slag

Site.

         77.    The Commonwealth may lUldertake and incur additional interim response actions

andlor necessary and appropriate costs ofadditional remedial response to address the release or

threatened release of hazardous substances at and from the Slag Site.

         78.    Pursuant to Sections 701 (a) and 702 ofHSCA, 35 P.S. §§6020.701(a) and

6020.702, Defendants are responsible for the release or threatened release of such hazardous

substances from the Slag Site, including (i) costs of interim response actions. and (ii) reasonable

and necessary or appropriate costs of remedial response incurred by the United States and the

Commonwealth.

        . 79.   Pursuant to Section 507 of HSCA, 35 P.S. §6020.507, the Commonwealth is

entitled to recover from Defendants any response costs incurred by the Commonwealth with

respect to the release or threatened release ofhazardous substances at or from the Slag Site,

including administrative and legal costs incurred from its initial investigation up to the time that

the Commonwealth recovers its costs.

         80.    Pursuant to Section 1103 of HSCA, 35 P.S. §6020.1103, the Commonwealth is


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entitled to institute a suit in equity in the name of the Commonwealth to restrain any violation of

HSCA. and such actions may be filed in a federal court having jurisdiction over the matter.

       81.     The Defendants are liable to the Commonwealth for payment ofall response costs

incurred or to be incurred by the Commonwealth at the Slag Site pW'Suant to Sections 701 and

702 of HSCA, 35 P.S. §§6020.701·6020.702.

                                    PMYER FOR RELIEF

       WHEREFORE, the Plaintiffs request that the Court enter a judgment against the

Defendants, jointly and sevem]Jy. as follows:

        A.     Enter judgment against Defendants, pursuant to Section 107 of CERCLA, 42

U.S.C. § 9607, as being liable for the United States' and the Commonwealth's past response

costs and all response costs that may be incurred in coMection with the Sites;

        B.     Order Defendants to pay a1l past response costs incurred in conducting response

activities in cOMection with the Sitesj

        C.     Enter a declaratory judgment as to Defendants' liability that wiJl be binding in

future actions to recover response costs incurred in cOMection with the Sites;

        D.     Orant equitable relief under HSCA, satisfying the enforcement and diligent

prosecution provisions contained therein;

        E.      Award the costs of this action to the United States and the Commonwealth; and

        F.      Orant such other and further relief as the Court deems just and proper.




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                                       Environment and Natural Resources Division
                                       U.S. Department.ofJustice




                                       En\lltonmelltal.Enforcemenl 8e~tion
                                         is.
                                       U Department. ofJl1stice
                                       1',0 Box 76] 1
                                       Washington, B,C. 20044
                                       (202) 514-5484
                                       John.Sither@usdoJ.goy
                                       ZANE'T)p,'Vlm NtEtv1~GER.
                                       Ij~.i"tii·St~f~ffr,\!~~j;,~}
                                       Eas{13rnD~~t( r;,'t r;f Pennsyl'!a:~ia



                                       SUSAN ~~. BECl{SR
                                       Assistant United States Attorney
                                       Officeoftbe Uni~d,~tates Attorney
                                       Ea$t~m Distl'iet ofPeunsylyania
                                       615 Chestnut Street. Suite 1250
                                       Philadelphia, PA 19106
                                       (215) 861 ..8310
                                       Susan.Becker@usdoj.gov

OF COUNSfi:L:

MARK. BOLENDER
Assistant RegiQnal Counsel
U.S. Environm!:mtaJProl~ction Agency
1650 Ar<::h Street
PhUadelphia, FA 19103
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                                          'sory Counsel
                                   DepartmentofErtvironmental Prot.ection   0




                                   Southeast Region
                                   Office ofChiefCounse1
                                   2 East Main Street, 4111 Floor
                                   Norristown, PA 19401




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